Pro Se | (Rev. 12/16) Complaint for a Civil Case

 

UNITED STATES DISTRICT COURT
for the

Eastern District of PENNSLYVANIA

Division

Case No.

 

be filled in by the Clerk’s O
LaShonda-Lynn: Clark — (to be filled in by the Clerk's Office)

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Jury Trial: (check one) [Xl Yes [] No

SHK MANAGEMENT, INC.
d/b/a KORMAN COMMUNITIES, INC.

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

COMPLAINT FOR A CIVIL CASE

I, The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

needed.
Name LaShonda-Lynn: Clark
Street Address c/o 280 Peshine Avenue i
City and County Newark, Essex a See
State and Zip Code New Jersey Republic [07108] a
Telephone Number 862-371-6610
E-mail Address Jashondaclark@gmail.com

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

Defendant No. 1

Name SHK MANAGEMENT d/b/a KORMAN COMMUNITIES

Page | of 5
Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

AVEUNION —

_580 W Germantown Pike Ste 200t
Plymouth Meeting
Pennslyvania, 19462 _
(484) 351 2000 ; (973) 476 2334 ee
-scoapman@aveliving.com ; cjimenez@aveliving.com

 

 

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

 

 

 

 

 

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (ifknown)

 

 

 

 

 

 

 

Defendant No. 4
Name
Job or Title (known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

 

 

 

 

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

[XX] Federal question (_] Diversity of citizenship

Page 2 of 4
Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

Consumer Credit Protection (15 U.S. Code 1601-1693r)

15 U.S. Code 1602(f)

Truth in Lending Act (15 U.S. Code 1601- 1667f)

Fair Housing Act (42 U.S. Code 3601-3631)

42 U.S. Code 3613

Fair Debt Collection Practices Act (15 U.S. Code 1692-1692p)
15 U.S. Code 1692k(d)

28 U.S. Code 2201

18 U.S. Code 242

18 U.S. Code 245

Uniform Commercial Code (Tender of Payment and Accord and Satisfaction)
Rule 55 of Federal Rules of Civil Procedure

Rule 602 of Federal Rules of Evidence

B. If the Basis for Jurisdiction Is Diversity of Citizenship

 

1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) a , is a citizen of the
State of (name) — —

b. If the plaintiff is a corporation

The plaintiff, (mame), , is incorporated
under the laws of the State of (name) ee ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual

The defendant, (name)

the State of (name)
(foreign nation) —

_, is acitizen of
_. Orisa citizen of

b. If the defendant is a corporation
The defendant, (xame) _, is incorporated under
the laws of the State of (name) : / , and has its
principal place of business in the State of (name) ae ee.

Or is incorporated under the laws of (reign nation) 2. e 3
and has its principal place of business in (name)

 

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Iii.

IV.

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

1) On August 26, 2022, a completed application was submitted to Korman Communities d/b/a AVE Union for
apartment 1111, which was to be available August 30, 2022. Defendant has failed to respond to the submitted
application and all affidavits and private notices of claim that were sent electronically and certified mail via the
United States Postal Service. I have reason to believe the application and terms and conditions are deceptive and
meant to mislead to create an unconsciousable contract due to the discriminatory housing practices displayed
from the defendant in connection with this consumer credit tranasaction.

2) Defendant was provided the opportunity to state a claim or to remain silent and to agree with all terms set
forth in the unresponded, unrebutted certified Affidavit of Non-military, Affidavit of Income Exemption,
Affidavit of Fact, Notice of Private Claim, and the Notice of Default.

3) The defendant was presented with a final opportunity to cure their administrative default on or about October
12, 2022. which plainly stated the defendant actions and lack of response appears to be intentional and is being
taken as willful noncompliance. At the time, the defendant was made aware of damages sustained as a result of
these violations, including but not limited to past and future emotional pain, suffering, inconvenience, mental
anguish, loss of enjoyment of life, health damage, loss of career, and damage to reputation to me and my
persons,

(All exhibits are attached for the record)

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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I, LaShonda-Lynn: Clark, living woman, pro se Plantiff is asking the court to order affirmative relief due to the
defendant's intentional violations, including but not limited to furnishing deceptive forms, fraud, discriminatory
housing practices, civil rights violations, violation of privacy, violations under Title 15, and acting in bad faith as
the defendant has willfully and maliciously remained silent in not responding to my certified claims when
provided opportunities to cure their fault in interferring and depriving my extention of credit and unalienable
rights.

Plantiff prays for equitable relief and default judgement in favor of the Plantiff for remedies and damages under
law and equity;

adjudge that Defendant violated the Consumer Credit Protection Act, Fair Housing Act and Title 18 Civil
Rights;

order the defendant to remit forty-five thousand united states dollars (45,000) to plantiff for actual and statutory
damages;

award Plantiff reasonable attorney's fees and costs incurred in this action;

award other and further relief as the Court may deem just and proper.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 11/30/2022

Signature of Plaintiff Lice LZ {~~ CL egy

Printed Name of Plaintiff LaShonda-Lymn: Clark, ProSe

B. For Attorneys
Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

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JS 44 (Rev. 04/21) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
SHK MANAGEMENT, INC.
LaShonde-Lynn: Clark d/bfa KORMAN COMMUNITIES, INC.
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: [INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Pro se
II. BASIS OF JURISDICTION (Place an “X" in One Box Only) Ill, CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[]1 U.S. Government [X]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C l Cc] 1 Incorporated or Principal Place CL] 4 J 4
of Business In This State
Cj 2 U.S. Government O 4 Diversity Citizen of Another State C 2 J 2 Incorporated and Principal Place CL 5 CT 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a £13 () 3 Foreign Nation Lie (Cie
Foreign Country
TV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
I CONTRACT TORTS FORFE{TURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY Y }625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729%a))
140 Negotiable Instrument Liability DO 367 Health Care/ INTELLECTUAL LY 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability [_] 368 Asbestos Personal $35 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets x] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 {15 USC 1681 or 1692)
160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
r} 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: |_}791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General T] 871 IRS—Third Party 899 Administrative Procedure
290 All Other Real Property 445 Amer. w/Disabilities -[/_] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appcal of
Employment Other: 462 Naturalization Application Agency Decision
iB] 446 Amer. w/Disabilities -]_| 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “xX” in One Box Only)
[x] 1 Original 2 Removed from Oo 3. Remanded from oO 4 Reinstated or O 5 Transferred from Oo 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S, Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Rule 55 of Federal Rules of Evidence; 28 U.S. Code 2201; 12 U.S. Code 1692k(d)
VI. CAUSE OF ACTION Brief description of cause:
Company failed to respond to affidavit, therefore seeking Rule 55 Declaratory Judgement.
VII. REQUESTEDIN  ([] CHECKIFTHISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $45,000 JURY DEMAND: — [X]Yes [_]No
VIII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
3
DATE SP ea, /. ATTORNEY OF RECORD
+ ooranc2 SL@w& pe OL Ur
FOR OFFICE USE ONLY SAS NM F =

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
